
82 So.3d 1201 (2012)
W.T., Appellant,
v.
AGENCY FOR PERSONS WITH DISABILITIES, Appellee.
No. 1D11-3953.
District Court of Appeal of Florida, First District.
March 19, 2012.
Laura M. Pichardo, Community Legal Services of Mid Florida, Inc., Orlando, for Appellant.
Michael Palecki, General Counsel, and Melissa Dinwoodie, Assistant General Counsel, Tallahassee, for Appellee.
PER CURIAM.
Reversed and remanded for further proceedings consistent with Newsome v. Agency for Persons with Disabilities, 76 So.3d 972 (Fla. 1st DCA 2011).
BENTON, C.J., WETHERELL, and RAY, JJ., concur.
